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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

NICOLE DARNELL,

                          Plaintiff,

vs.                                           Case No.    2:08-cv-639-FtM-29DNF

COLLECTCORP CORPORATION,

                    Defendant.
___________________________________


                                        ORDER

      On January 30, 2009, the Court entered an Order (Doc. #14)

administratively closing the case for a period of thirty days.

That time has now expired and no stipulated form of final order or

judgment has been submitted.

      Accordingly, it is hereby

      ORDERED AND ADJUDGED:

      The   Clerk   of    the   Court    shall    enter    a     separate    judgment

pursuant to Rule 58 of the Federal Rules of Civil Procedure

dismissing the case with prejudice.              The Clerk is further directed

to terminate any previously scheduled and pending motions, and

close the file.

      DONE AND ORDERED at Fort Myers, Florida, this                   16th     day of

March, 2009.




Copies: Counsel of record
